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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
x Docket No.:

 

 

 

SHERRY GRANT, , :
Plaintiff, C 1 2 9 1 4 C) - “y
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-against- FILE GOMPLAINT .
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UNITED FEDERATION OF TEACHERS, Us TRC Coe AD U Mi ON S | S S U [= D
UNITED CEREBRAL PALSY OF NEW * MAY - 1 299 y MON, CH.J
YORK CITY, INC., EVERETT . ? ™~
WATTS, and TRISH TRAYNOR, BROOKLYN OFFICE
Defendants. DEMAND FOR JURY TRIAL :
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x LEVY My

Plaintiff SHERRY GRANT, by her attorneys Precious C. Aneji, Esq. and Kathy A.
Polias, Attorney-at-Law, complaining of the Defendants UNITED FEDERATION OF
TEACHERS, UNITED CEREBRAL PALSY OF NEW YORK CITY, INC., EVERETT

WATTS, and TRISH TRAYNOR, upon information and belief, alleges as follows:

NATURE OF ACTION

1, This action is brought to remedy: |

(a) Defendant United Federation of Teachers’ (hereinafter also “UFT”) breach of its
duty of fair representation, in violation of the Labor Management Relations Act;

(b) Defendant United Cerebral Palsy of New York City Inc.’s, Defendant Everett
Watts’, and Defendant Trish Traynor’s breach of the Collective Bargaining
Agreement between UCP and UFT, of which Plaintiff is a beneficiary, in
violation of the National Labor Relations Act and the Labor Management

Relations Act;
 

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(¢) _ Defendant United Federation of Teachers’ retaliation against Plaintiff for
engaging in protected activity, in violation of the New York State Human Righits
Law; and

(d) Defendant United Federation of Teachers’ retaliation against Plaintiff for

engaging in protected activity, in violation of the New York City Human Rights

Law.
JURISDICTION AND VENUE
2. Jurisdiction is specifically conferred on this Court by Labor Management

Relations Act, Section 301. This Court has pendent and supplemental jurisdiction over
Plaintiff's state law and city law claims, as the facts that form the basis of the state and city law
claims are substantially similar to the facts that form the basis of the federal law claims.
3. Venue is proper because the incidents complained of in this lawsuit occurred iri
the Eastern District of New York and duly authorized officers or agents of United Federation of
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Teachers are engaged in representing or acting for employee members in the Eastern District of

New York.

PARTIES
4. During all times relevant and material to this complaint, Plaintiff was a member
of the labor organization United Federation of Teachers and an employee of United Cerebral
Palsy of New York City, Inc., within the meaning of the National Labor Relations Act and the
Labor Management Relations Act.

5. During all times relevant and material to this Complaint, Defendant United

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Federation of Teachers was a “labor organization” within the meaning of the Labor Management

Relations Act and the National Labor Relations Act and maintained its principal place of

’ business at 52 Broadway, New York, NY 10004.

6. During all times relevant and material to this Complaint, Defendant United
Cerebral Palsy of New York City, Inc. was an “employer” within the meaning of the Labor
Management Relations Act and the National Labor Relations Act and maintained its principal:
place of business at 80 Maiden Lane, New York, NY 10038.

7. During all times relevant and material to this Complaint, Plaintiff was the
beneficiary of a Collective Bargaining Agreement between United Federation of Teachers ancl
United Cerebral Palsy, in effect from December 30, 2009 to June 29, 2012, annexed hereto.

8. During all times relevant and material to this Complaint, Defendant Everett Watts
was an employee and agent of Defendant United Cerebral Palsy of New York City, Inc. He was
employed as a supervisor at UCP’s Landings site at 596 Louisiana Avenue, Brooklyn, New

York.

9. During all times relevant and material to this Complaint, Defendant Trish Traynor,

was an employee and agent of Defendant United Cerebral Palsy of New York City, Inc.

FACTUAL ALLEGATIONS
10. _—‘ Plaintiff Sherry Grant has been a Residential Program Specialist with Defendant
United Cerebral Palsy of New York City (hereinafter also “UCP”) since 2000. She has been a
member of the labor organization, United Federation of Teachers, for several years. She is
covered by the Collective Bargaining Agreement in effect from December 30, 2009 to June 2%,

2012 between United Cerebral Palsy of New York City, Inc. and United Federation of Teachers,

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acting on behalf of Plaintiff and other employees of UCP. A copy of the collective bargaining
agreement is annexed hereto.

11. Plaintiff has had a pending lawsuit in federal court against United Cerebral Palsy
since early 2011, in which she asserts claims against UCP of gender discrimination and
retaliation for engaging in protected activity. Prior to bringing the lawsuit, she had made
complaints against UCP to the New York State Division of Human Rights and U.S. Equal

Employment Opportunity Commission of gender discrimination and retaliation.

12. ‘In October 2011, Plaintiff was questioned by UCP about false allegations that she

and two of her co-workers at UCP’s Landings unit/site in Brooklyn were heard saying that a
consumer should burn to death. UCP treated Plaintiff much differently than the other two
employees against whom the allegations were made. UCP summoned and questioned Plaintiff
individually, while UCP separately summoned and questioned the two other workers together,
Furthermore, UCP allowed the two other co-workers to work while the investigation into the
false allegations was pending but sent Plaintiff home to wait for the outcome of the investigation.
13. Later in October 2011, UCP informed Plaintiff that the allegations were
unfounded but instead of sending her back to work at the Landings Unit, UCP arbitrarily and
capriciously transferred her to another unit on or about November 2, 2011 — the Avenue H/E. 31*
Street site in Brooklyn — where she was scheduled for ten hours less and therefore paid less than
at the Landings site. Everett Watts, the Supervisor at the Landings site, was involved in making |
this transfer. The two co-workers whom had also been the target of the allegations were not
transferred from the Landings Unit and did not sustain a reduction in hours and wages like
Plaintiff did. The arbitrariness and capriciousness of Defendarits UCP’s and Everett Watts’

adverse transfer of Plaintiff stemmed from their efforts to further retaliate against Plaintiff for her

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aforementioned protected activity. Defendants UCP and Everett Watts breached several
provisions of the Collective Bargaining Agreement by making this transfer of Plaintiff. By
reducing Plaintiff's hours from the number of hours she worked at the Landings even though
there was not a lack of work and even though less senior employees’ hours were not reduced,
Defendants UCP and Everett Watts violated Section A (1) of Article 25 (Hours of Work) of the
Collective Bargaining Agreement. Defendants UCP and Everett Watts breached Section D o%7
Article 27 (V. acancies, Transfers, Promotions, Layoffs, and Recalls) of the Collective Bargaining
Agreement by arbitrarily and capriciously transferring Plaintiff from the Landings site to the
Avenue H/E, 51* St. site, without any basis for disciplining Plaintiff, against Plaintiffs will,
without Plaintiff's consent, and ahead of less senior employees. Defendants UCP and Everett
Watts breached Section B of Article 28 (Due Process) of the Collective Bargaining Agreement
by transferring Plaintiff from the Landings site to the Avenue H/E. 51“ Street site without just
cause, against her will, and without her consent.

14. On or about November 3, 201 1, Plaintiff asked Defendant United Federation of
Teachers to file a grievance on her behalf regarding the transfer. Defendant UFT was aware that
the allegations made against Plaintiff had been determined to be unfounded, that UCP had no just
cause for transferring Plaintiff, that Plaintiff was transferred ahead of less senior employees, that
the transfer resulted in a reduction in her wages, that Plaintiff was transferred against her will
and without her consent, and that UCP breached the Collective Bargaining Agreement by
transferring Plaintiff. Yet, despite all of this, UFT indicated an unwillingness to file the
grievance. Given the circumstances, the union’s decision was so far outside a wide range of
reasonableness as to be irrational.

15. On or about November 16, 2011, Plaintiff was summoned to a meeting with UFT

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and UCP. Plaintiffs UFT Chapter Leader told her prior to the meeting that the meeting was to
confirm her schedule at the Avenue H/E. 51° Street site and to give her back the hours she had
lost. When Plaintiff arrived at the meeting, she found UCP employees Defendants Everett Watts
and Trish Traynor acting on behalf of UCP, her UFT Chapter Leader, and UFT representative
Olivia Wint. Ms. Wint told Plaintiff that UCP had asked her to intervene. UCP apparently
wanted a union representative present who would be more amenable to it and comply with its
wishes and goals and UFT granted UCP’s request by having Ms. Wint attend the meeting. Ui?T
acted in a way that was against Plaintiff's interests. Ms. Wint was there to take over the
“representation” of Plaintiff, although she failed to represent Plaintiff. Ms. Wint told Plaintif?
that UCP wanted to transfer her again to a different site/unit/assignment and that Plaintiff had to .
take one of the two transfer options that UCP was offering or stay home without pay. Defendant
Traynor made the baseless allegation that the consumers at the Avenue H/E. 51“ Street did not
like her. Both transfer options would have inflicted undue hardship on Plaintiff. One transfer
option was to Staten Island, which was far away from Plaintiff's home. The other transfer option .
was to another site in Brooklyn, where the schedule would inflict undue hardship on Plaintiff
who had a young baby. Ms. Wint did not even try to defend Plaintiff's interests at the meeting
or try to stop the transfer from Avenue H/East 51 Street. Ms. Wint knew that UCP was
blatantly violating the Collective Bargaining Agreement. Ms. Wint defended UCP at the
meeting, instead of defending Plaintiff as Ms. Wint was required to do. Ms. Wint’s actions were
arbitrary, discriminatory, and in bad faith.

16. By attempting to again transfer Plaintiff, Defendant UCP breached the same
provisions of the Collective Bargaining Agreement as it had breached when it transferred

Plaintiff from the Landings site to the Avenue H site.

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17. After the meeting, Plaintiff repeatedly contacted UFT about what occurred at the
meeting. UFT indicated an unwillingness to grieve UCP’s efforts to again transfer Plaintiff.
UFT continued to represent to Plaintiff that her only alternative was to take one of the two
transfer options, both of which would inflict undue hardship on her. UFT was aware that UCP
was violating the Collective Bargaining Agreement and that UCP had a motive to retaliate
against Plaintiff. UFT capriciously sided with UCP and failed to represent Plaintiff. UFT acted
arbitrarily, discriminatorily, and in bad faith, and actually participated in and facilitated UCP’s
retaliation toward Plaintiff for her protected activity.

18. Plaintiff was called for a Step One meeting in early April 2012 on a grievance
purportedly filed by UFT. UFT purports to have filed the grievance in the middle of December
201 1. However, Plaintiff was not made aware of a filed grievance at that time. She was also not
consulted about the substance of the grievance. Furthermore, under Section C of Article 29
(Grievance and Arbitration Procedure) of the collective bargaining agreement, the Step One
meeting takes place within ten days after the filing of the grievance by the union. Defendant
UFT claims to have filed a grievance in the middle of December 2011, but the Step One meeting
took place almost four months after that - in early April 2012. By the time of the Step One
meeting, Plaintiff had already been home without pay for almost five months. Therefore, it is
likely that if UFT did file a grievance regarding Plaintiff, the filing occurred much later than
December 2011, or if the union did submit a grievance in the middle of December 2011, the
union did not effectively ‘prosecute it by ensuring that the Step One meeting occurred within ten
days after submission, in accordance with the Collective Bargaining Agreement. A space of
almost four months between the purported submission of a grievance in the middle of December

2011 and a Step One meeting in the middle of April 2012 was a grossly unreasonable delay.

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Furthermore, under the Collective Bargaining Agreement, the union was to file the grievance
within ten days after the facts giving rise to the grievance were known or reasonably known to
Plaintiff. Even if the union filed the grievance in December 20 i , that was more than a month
after Plaintiff contacted the union about filing a grievance and the facts giving rise to the
grievance were known to Plaintiff.

19. Even if the union filed a grievance regarding Plaintiff, the manner in which it has :
prosecuted the grievance shows that it does not intend to effectively represent Plaintiff on the
grievance. Its behavior has been arbitrary, discriminatory, and in bad faith. In addition to the
foregoing, the following occurred. At the Step One meeting which Olivia Wint again attended
with Plaintiff's UFT Chapter Leader, the substance of the purported grievance and the ways in
which UCP violated the Collective Bargaining Agreement were not even discussed. Plaintiff
was offered a few options for placement, all for fewer hours than she worked at the Landings. In
an effort to mitigate her damages, Plaintiff tried to accept one of the placements. UFT presented
her with an agreement among Plaintiff, the union, and UCP that among other things, contained
statements aimed at protecting the union from any liability. The union represented to Plaintiff
that if she wanted the placement, she had to sign the agreement as is and the terms were non-
negotiable. The union made sure that self-serving statements were in a contract with the
employer, in which the union is supposed to be serving Plaintiff's interests.

20. | UFT’s and UCP’s actions and omissions directly resulted in Plaintiff sustaining

lost wages, emotional and mental distress, and physical distress.

AS FOR A FIRST CAUSE OF ACTION _

21. Plaintiff repeats and realleges paragraphs 1 through 20 as if each paragraph is

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repeated verbatim herein.
_ 22. In violation of the National Labor Relations Act and the Labor Management
Relations Act, Defendant United Federation of Teachers has breached its duty to Plaintiff of fair

representation by acting in a manner toward Plaintiff that has been arbitrary, discriminatory, end

in bad faith.

AND AS FOR A-SECOND CAUSE OF ACTION

23. Plaintiff repeats and realleges paragraphs 1 through 22 as if each paragraph is
repeated verbatim herein.

24. —‘In-violation of Section 301 of the Labor Management Relations Act, Defendants
United Cerebral Palsy and Everett Watts breached Section A(1) of Article 25 (Hours of Work) of
the Collective Bargaining Agreement between UFT and UCP by reducing Plaintiff’s hours from i
the number of hours she worked at the Landings even though there has not been a lack of work

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and even though less senior employees’ hours have not been reduced.

AND AS FOR A THIRD CAUSE OF ACTION
25. Plaintiff repeats and realleges paragraphs 1 through 24 as if each paragraph is
repeated verbatim herein.
26. _—_In violation of Section 301 of the Labor Management Relations Act, Defendan's
United Cerebral Palsy and Everett Watts breached Section D of Article 27 (Vacancies, Transfers,
Promotions, Layoffs, and Recalls) of the Collective Bargaining Agreement between UFT and
UCP by: (a) arbitrarily and capriciously transferring Plaintiff from the Landings site to the

Avenue H site; (b) without any basis for disciplining Plaintiff, transferring her from the Landings i

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site to the Avenue H site, against her will, without her consent, and ahead of less senior
employees; and (c) not informing Plaintiff of the reason for the transfer from the Landings sile

to the Avenue H site.

AND AS FOR A FOURTH CAUSE OF ACTION

27. Plaintiff repeats and realleges paragraphs 1 through 26 as if each paragraph is
repeated verbatim herein.

28. —_‘In violation of Section 301 of the Labor Management Relations Act, Defendanis
, United Cerebral Palsy, Everett Watts, and Trish Traynor breached Section D of Article 27
(Vacancies, Transfers, Promotions, Layoffs, and Recalls) of the Collective Bargaining
Agreement between UFT and UCP by: (a) arbitrarily and capriciously trying to transfer Plaintiff
from the Avenue H site to yet another site; and (b) without any basis for disciplining Plaintiff,
trying to transfer her from the Avenue H site to yet another site, against her will, without her _

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consent, and ahead of less senior employees.

AND AS FOR A FIFTH CAUSE OF ACTION
29, ~~ Plaintiffrepeats and realleges paragraphs 1 through 28 as if each paragraph is
repeated verbatim herein. |
30. - In violation of Section 301 of the Labor Management Relations Act, Defendants
United Cerebral Palsy and Everett Watts breached Section B of Article 28 (Due Process) of the
Collective Bargaining Agreement between UFT and UCP by taking the following adverse

actions against Plaintiff without just cause: transferring her from the Landings site to the

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Avenue H site against her will and without her consent; and reducing her hours from the number.

of hours she was working at the Landings site.

AND AS FOR A SIXTH CAUSE OF ACTION
31. _ Plaintiff repeats and realleges paragraphs 1 through 30 as if each paragraph is
repeated verbatim herein.
32. In violation of Section 301 of the Labor Management Relations Act, Defendants
United Cerebral Palsy, Everett Watts, and Trish Traynor breached Section B of Article 28 (Due
Process) of the Collective Bargaining Agreement between UFT and UCP by after Plaintiff was at
the Avenue H site for a short time, mandating that she stay home without pay or take one of two

other assignments, both of which would cause undue hardship to her.

AND AS FOR A SEVENTH CAUSE OF ACTION
33. Plaintiff repeats and realleges paragraphs 1 through 32 as if each paragraph is
repeated verbatim herein.
34, In violation of New York State Executive Law, Section 296 (New York State
Human Rights Law), Defendant UFT retaliated against Plaintiff for her complaints against UCP |

of retaliation and gender discrimination.

AND AS FOR AN EIGHTH CAUSE OF ACTION
35. Plaintiff repeats and realleges paragraphs 1 through 34 as if each paragraph is
repeated verbatim herein.

36. In violation of New York City Administrative Code, Section 8, et seq. (New York

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City Human Rights Law), Defendant UFT retaliated against Plaintiff for her complaints against

UCP of retaliation and gender discrimination.

WHEREFORE, Plaintiff prays the court for judgment as follows:

Under the Labor Management Relations Act against Defendant United Federation of
Teachers for the First Cause of Action:

i. awarding Plaintiff back wages, front pay, and lost benefits (including retirement benefits)
in an amount to be proven at trial and in accordance with proof;

li. awarding Plaintiff compensatory damages for emotional distress, pain afd suffering,
humiliation, loss of dignity and livelihood in an amount to be proven at trial and in
accordance with proof;

iti. awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof:

iv. awarding Plaintiff reasonable attorney fees, reasonable expert fees, and the costs and
disbursements of this action; and

v. awarding such further relief that Plaintiff may be shown entitled to and in accordance

~ with proof.

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Under the National Labor Relations Act and the Labor Management Relations Act against
Defendants United Cerebral Palsy of New York City, Inc. and Everett Watts, jointly and
severally, for each of the Second, Third, and Fifth Causes of Action:

i. reinstating Plaintiff to her work at United Cerebral Palsy;

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vi.

awarding Plaintiff back wages, front pay, and lost benefits (including retirement
benefits) in an amount to be proven at trial and in accordance with proof;
awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity and livelihood in an amount to be proven at
trial and in accordance with proof; |

awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof;

awarding Plaintiff reasonable attorney fees, reasonable expert fees, and the costs
and disbursements of this action; and

awarding such further relief that Plaintiff may be shown entitled to and in

accordance with proof.

Under the National Labor Relations Act and the Labor Management Relations Act against

Defendants United Cerebral Palsy of New York City, Inc., Everett Watts, and Trish

Traynor, jointly and severally, for each of the Fourth and Sixth Causes of Action:

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reinstating Plaintiff to her work at United Cerebral Palsy;

awarding Plaintiff back wages, front pay, and lost benefits (including retiremenit
benefits) in an amount to be proven at trial and in accordance with proof;

awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity and livelihood in an amount to be proven at
trial and in accordance with proof;

awarding Plaintiff punitive damages in an amount to be proven at trial and in

accordance with proof;

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Vv. awarding Plaintiff reasonable attorney fees, reasonable expert fees, and the costs
and disbursements of this action; and
Vi. awarding such further relief that Plaintiff may be shown entitled to and in
accordance with proof.
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Under the New York State Executive Law, Sections 290-297 (New York State Human

Rights Law) against Defendant United Federation of Teachers for the Seventh Cause of

Action:

i. awarding Plaintiff back wages, front pay, and lost benefits (including retirement
benefits) in an amount to be proven at trial and in accordance with proof;

ii. awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity and livelihood in an amount to be proven at
trial and in accordance with proof;

iii, awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof;

iv. awarding Plaintiff reasonable expert fees and the costs and disbursements of this
action; and

Vv. awarding such further relief that Plaintiff may be shown entitled to and in

accordance with proof.

Under the New York City Administrative Code, Section 8, et seq. (New York City Human
Rights Law) against Defendant United Federation of Teachers for the Eighth Cause of

Action:

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awarding Plaintiff back wages, front pay, and lost benefits (including retirement
benefits) in an amount to be proven at trial and in accordance with proof;
awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity and livelihood in an amount to be proven at
trial and in accordance with proof:

awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof;

awarding Plaintiff reasonable attorney’s fees, reasonable expert fees, and the costs
and disbursements of this action; and

awarding such further relief that Plaintiff may be shown entitled to and in

accordance with proof.

Dated: Brooklyn, New York

May 1, 2012

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UCP-UFT Collective Bargaining Agreement-- Residences

Agreement made and entered into the 26th day of May 2010 by and between United
Cerebral Palsy of New York City (herein “Employer”) and United Federation of
Teachers, NYSUT, AFT, AFL-CIO (herein “Union”) acting on behaif of certain
Employees of the Employer as hereinafter defined.

Article 1
Recognition

The Employer recognizes the Union as the exclusive collective bargaining representative
of Employees certified in the following appropriate unit:

All full-time and regular part-time Senior Residential Program Specialists, Residential
Program Specialists, Residence Program Specialists Il, Cooks, Licensed Practical Nurses,
Administrative Assistants, Physical Therapist Assistants, excluding all other employees
including Managerial Employees, Confidential Employees, Supervisors and Guards, as
defined in the Act. ,

Whenever the word “Employee” is used in this Agreement, it shall be deemed to mean
the employees in the unit covered by this Agreement. — ,

Article 2
No Discrimination

Neither the Union nor the Employer will discriminate against any Employee because of
race, religion, sex, age, marital status, national origin, sexual orientation, color,
citizenship status, union activity or non-activity, or disability unrelated to job
performance.

Article 3
Effective Date and Duration : .

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This Agreement will] be effective trom December 30, 2UU9 and will remain effective
through June 29, 2012. 3

Article 4
Prebationary Period

1. Duration. Except as set forth in section 2, anew Employee, whether or not
formerly an. Employee of the Employer, or an employee transferred into the
bargaining unit from a different job title, or a bargaining unit Employee
 

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voluntarily transferred to a different job title, will be on probation until the
Employee has actually worked for six months in the new position or a pro-rata,
1.¢. extended equivalent for other than regular full-time Employees, excluding
time for illness or any other non-work time.

Exceptions.

(a) An AMAP certified on call Employee who has worked for more than two
years and transfers into a salaried position shall serve a three (3) month
probationary period upon transfer, On-call Employees who are not AMAP
certified at the time of transfer into a salaried position shall serve a probationary
period of six months.

(b) Salaried Residential Employees who have completed a six (6) month
probationary period prior to voluntarily returning to on-call status shall not
serve a new probationary period.

(c) Salaried Residential Employees who have completed a six (6) month
probationary period prior to being returned to on-call status as a result of not
attaining a driver’s license or AMAP certification shall serve a three (3) month
probationary period,

. {4) Residence Program Specialists II who have completed a six (6) month

probationary period and are promoted into the Residential Program

Specialist title shall serve a three (3) month probationary period.

Extension. By written agreement between the Union and the Employer, the
applicable probationary period may be extended. Failure to extend the
probationary period or to terminate the Employee during or at the end of such
period means the Employee has successfully completed that period,

Rights. During or at the end of the probationary period the Employer may
discharge or discipline a probationary Employee and such discharge or discipline
shall not be subject to grievance or arbitration, but the Employee is otherwise
covered by the provisions of the Agreement.

Article 5
Seniority

Seniority is defined as the length of time an Employee has been continuously
employed on a full time basis by the Employer including all positions outside of
the bargaining unit. Part time Employees accrue pro-rata seniority. On-call
Employees do not accrue seniority.

An Employee’s seniority shall commence on the date of his/her last hire, and shall
accrue during his/her continuous employment with the Employer.

An Employee shall neither accrue nor lose seniority while he/she is on layoff or
an unpaid leave of absence or any absences while he/she is not being paid by the
Employer.

An Employee shall lose seniority, and seniority shall be broken if the Employee
a. Voluntarily resigns; or -

b. is discharged; or
 

 

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c. fails to report to work after a layoff within fourteen (14) calendar days after
recall sent certified mail by the Employer to the Employee at his/her address
of record on file with the Employer, except where verifiable serious illness or
other. provable reason acceptable to the Employer makes it impossible for the
Employee to return on time and provided the Employee notified the Employer
of the reason within three (3) days after recall; or

d. fails to report to work at the expiration of a leave of absence pursuant to this
Agreement, except where verifiable serious iliness or other provable reason
acceptable to the Employer makes it impossible for the Employee to return on
time and provided the Employee notifies the Employer of the reason within
three (3) days prior to expiration of the leave of absence; or

¢. fails to apply for re-employment within the statutory period after separation
from military service; or

f. is laid off for twelve (12) months,

An Employee whose seniority is lost for any of the reasons outlined in Paragraph

4 above shall be considered as a new Employee if he/she is again employed by the

Employer. The failure of the Employer to re-hire said Employee after the loss of

seniority shall not be subject to the grievance and arbitration provisions of this

Agreement.

Upon written request by the Union, the Employer will provide an updated

seniority list to the Union every six (6) months.

Article 6
Union Security

A. Union Shop

1.

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It shall be a condition of employment that every Employee who is a member of

the Union in good standing as of the date of execution of this Agreement shall
remain a member in good standing. Those Employees who are not members ofthe .
Union on the date of execution of this Agreement shall become and remain
members in good standing of the Union no later than thirty days following the

date of execution of this Agreement as a condition of employment.

After the date of execution of this Agreement, every newly hired Employee will
become a member of the Union within thirty days after the date of employment

and thereafter will remain a member in good standing as a condition of
employment. '

Whenever the Union charges that any Employee who is required by the provisions
of this Article to become or remain a member of the Union in good standing has
failed to do so, and the Union requests the discharge of such Employee, the
Employer shall be so informed by the Union by certified or registered mail, The
Employer shall have fourteen Days following the receipt of such notice, pursuant
to the request of the Union, to discharge the Employee. If during the fourteen day
period the Employee shall pay his or her delinquent dues, or the Union shall
withdraw its request for termination, the Employer shall not be required to
 

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discharge such Employee assuming the Employer has been so informed by the

Union, by certified or registered mail.

“Good Standing” for the purpose of this Agreement shall mean the payment or

ness of periodic dues, uniformly required as a condition of membership, to the
nion.

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B. Payroll Deduction of Union Dues

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An Employee who desires to become a member of the Union may execute a
written authorization in the form annexed hereto as Exhibit A. Upon receipt of
such authorization from an Employee the Employer will, pursuant to such
authorization, deduct from the wages due the Employee in each pay period the
regular dues fixed by the Union. However, the first deduction shall not be
required to be made earlier than the first pay period following completion of the
Employee’s first thirty days of employment but will include the first thirty days of
employment if authorized by the Employee.

The Employer shall be relieved from making such “check-off” deductions upon:
(a) termination of employment, (b) transfer to a title outside the bargaining units,
(c) layoff from work, (d) agreed leave of absence, or (e) revocation of the check-
off authorization in accordance with its terms or with applicable law,
Notwithstanding the foregoing, upon the return of an Employee to work from any
of the above-mentioned absences, the Employer will immediately resume the
obligation of making such deduction, except that deduction for terminated
Employees shall require a new dues authorization form.

By the twentieth of each month, the Employer shall remit to the Union all
deductions for dues made from the salary of Employees for the preceding month,
together with lists (transmitted electronically) of all unionized Employees and
Employees for whom dues have been deducted, including their social security
numbers and the amount of dues deducted from each Employee’s earnings.

C. Employer Held Harmless
The Union agrees that it will hold the Employer completely free and harmless and

fully indemnify the Employer from any claims, actions, damages, suits or costs of any
type, attorney’s fees, or proceedings related in any way to deduction, terminations or
other actions pursuant to this Article.

D. Union Rights .
{. The Employer shail provide a bulletin board al each site where bargaining wnat

members are employed for the posting of official union business and
communications, When such notices are posted, a copy shall be given to the
Employer. No posted notice shall contain criticism or be of a derogatory nature
with respect to the programs, policies, or personne! of the Employer, or be
detrimental to the consumers. The Employer will make reasonable efforts to
locate bulletin boards in an area accessible to all Employees.

The Union may utilize the Employer’s internal mailboxes to disseminate official
Union information and correspondence to bargaining unit Employees.
 

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3. The Union may request the use of available space for staff meetings on a periodic
basis. It is understood that use of this space will not interfere with normal
Program operations and will take place on the Employee’s non-work hours.
Permission to use such meeting space will not be unreasonably withheld,

4. The Employer shall permit the Chapter Leader of his/her designee to take time off
without pay to attend monthly meetings of the citywide UFT Delegate Assembly.
The Chapter Leader shall submit to the Director of the Program a copy of the
monthly dates of the citywide UFT Delegate Assembly in September. If a change
occurs in the meeting dates, the Chapter Leader will advise the Director as soon

- as possible.

5. A Union designated committee of no more than eight (8) people shall meet with
representatives from Management three times per year to discuss matters of
mutual concern, Additional meetings may be agreed upon in writing between the
parties. The meeting shall begin at 4 pm and end by 5:30 pm. It is understood that
these meetings will not interfere with normal program operations and that
Employees will not be paid for their attendance, These meetings shall in no way
be deemed negotiating sessions and no side agreements or other modifications of
this Agreement shall result. The agenda items will be exchanged between the
Union and the Employer four (4) days in advance of the meeting date.

6. A Union Representative who is not an Employee, who wishes to visit the
workplace in the conduct of official Union business, or to attend a grievance
hearing shal] make a request to the Director of the Program or the Director of
Human Resources, by stating the date and time of the visit. This request shall be
made with two (2) days’ notice unless an emergency situation arises. Permission
for such visits will not be unreasonably withheld, :

E, New Unit Employee
The Employer will notify the Union in writing of each new bargaining unit Employee

within ten (10) working days after the Employee’s employment.

¥. Notification of Change of Status
The Employer will notify on a monthly basis, in writing, the Union at the end of each

month of all bargaining unit employees who have resigned or been terminated.

Article 7
Rates of Pay, Minimums, and Health Care Supplements

A. Rates of Pay

1. During the term of this Agreement each Employee (including Employees on

~ leave who return to work at or before expiration of leave) shall receive the
salary increases corresponding to his or her job title category (a) or (e) below.

2. The minimurn job rates of each bargaining unit title are increased in the same

manner and set forth in Appendix A.
 

 

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3. Empioyees entitled to retroactive money shali receive payment in one separate
check on June 4, 2010. ;

4. The minimum job rates and salary increases in effect for bargaining unit
members shall not be less than those in effect for non-bargaining unit
members in the same or comparable job titles.

Category (a

Residential Program Specialists, Senior Residential Program Specialists,
Residence Program Specialists II, Cooks, and the following Employees funded
through OMRDD sources-- Administrative Assistants, Licensed Practical Nurses,
Physical Therapy Assistants. .

Incumbent

Salary Increase Payment Salary
Effective Date Date Increase
11/30/09 . «6/4/10 3%

The above-mentioned salary increase shall be applied to all regular, additional,
holiday, and overtime hours worked by category (a) employees retroactive to
11/30/09.

Category {e)}
Residential Program Specialist On-Calls

Incumbent

Salary Increase Payment Salary

Effective Date Date Increase

5/10/10 6/4/10 3%

B. Health Care Supplements

1.

In addition to the salary increases provided in Section A above, full time and part
time category (a) Employees hired prior to 4/1/10 (including Employees on leave
who return to work) shall receive the applicable health care supplements specified

- below.
 

 

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Category (a) Employees
Payment Date Payment Amount Payment Type
4/V/10 $1,000 health reimbursement
account

2. The health care supplements for bargaining unit Employees shall not be less than
the health care supplements for non-bargaining unit Employees in the same or
comparable job titles.

3. The Employer shall apply for the OMRDD Health Care Initiative in each year in
which it is available.

C. Re-Opener -

On or before April 1, 2011 either party may give written notice of its intent to re-
open Article 7 (Wages, Minimums, and Health Supplements). If such notice is
timely given, the parties shall meet to negotiate in good faith the terms of Article
7, including but'not limited to the use of unexpended funds that may exist as of
June 30, 2011 and anticipated revenues and expenditures for the fiscal year
commencing July 1, 2011. The parties agree that the resulting wages, minimums,
and health supplements for bargaining unit members shall not be less than those
in effect for non-bargaining unit members in the same or comparable job titles.

Article 8
Pension Plan

1. The Employer shall continue to provide pension benefits to Employees covered
by this Agreement. ;

2. The pension benefits for bargaining unit Employees shall not be less than those in
effect for non-bargaining unit Employees in the same or comparable job titles.

3. The Employer shall notify the Union no later than three months prior to any
'_ possible change in pension benefits for bargaining unit members.

4. A joint UCP/UFT committee will begin meeting no later than three months prior
to any possible change in pension benefits for the purpose of exploring and
identifying future options regarding such benefits for bargaining unit Employees.

§. The Employer, the Union, and the Employees shall comply with the Employee
Retirement Income Security Act (ERISA) and other laws as applicable.
. The health and dental benefits in effect for bargaining unit members shall not be

 

 

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. Article
Health and Dental Benefits

. The Employer shall continue to provide health and dental benefits to the

Employees covered by this Agreement. The health benefits for bargaining unit
members during the plan year May 1, 2010 through April 30, 2011 are set forth in
the Stipulation of Agreement between the parties dated April 13, 2010 and shall
be incorporated into the collective bargaining agreement.

- less than those in effect for non-bargaining unit Employees in the same or

comparable job titles.

. The Employer shall notify the Union no later than two months prior to any

possible change in health or dental benefits for bargaining unit members.

. Ajoint UCP/UFT committee will begin meeting no later than two months prior to

any possible change in health or dental benefits for the purpose of exploring and
identifying future options regarding such benefits for bargaining unit members. A
minimum of two alternative options will be explored.

. The parties will negotiate in good faith in an effort to reach agreement no later

than April 15° during the term of the collective bargaining agreements regarding
any changes to existing health or dental benefits for bargaining unit members,

. In the event that the premium of any existing or new health insurance plan .

increases effective April 1, 2010, the Employer will absorb a premium increase of
up to 3%. :

. The Union shall be offered the option of (a) renewing the pian, if available, no

later than Apri! 15™ of each contract year; or (b) choosing one of the alternative
plans presented, with Employees paying the premium increase above 3% in either

(a) or (b).

. The steps outlined in this section shall apply each year during the term of the

collective bargaining agreements.

Article 10
Vacations

. Full-time Employees shall acome vacation days based upon job title. Information

regarding vacation entitlement shall be made available to each Employee at
his/her time of hire. Employees who have completed twenty-six (26) weeks of
employment shall accrue one-half year’s worth of vacation time. Following the
 

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initial twenty-six (26) week credit, Employees shall accrue vacation time per four
(4) week cycle in accordance with UCP existing policy. Full-time Employees,
other than those listed below, have the following annual vacation entitlement:

Years of Service at UCP Annual Vacation Entitlement
1~3 10 days
3-5 15 days
over 5 . 20 days

Employees in job titles whose annual vacation entitlement is twenty (20) days

upon completion of one (1) year of UCP service on the date of ratification of this

Agreement shall continue to be so entitled,

Part-time Employees shall earn vacation days on a pro-rated basis.

Hourly Employees do not accrue vacation time.

Employees may carry over unused vacation time into the next fiscal year

(commencing July 1°. oo

a, The amount of vacation time that may be carried over is limited to one and
one-half (1 4 ) times the annual accruals for full-time Employees

b, The amount of vacation time that part-time Employees may carry over is pro-
rated based on their part-time schedule and the prorated equivalent of the
vacation limits for full-time Employees.

ce. Exceptions to the 4a limits may be granted in writing by the Executive
Director or his/her designee only if the Employee makes a written request for
vacation utilization by March 30” which has been denied. Denials of
exceptions shall be neither arbitrary nor capricious.

Upon separation from employment, the Employer shall pay accrued but unused

vacation leave up to the limits indicated above to Employees who provide the

required notice or acceptable reason of hardship and according to applicable law.

Article 11

: Holiday Leave
Full-time Employees are eligible to take off or accrue leave for the following paid
Agency holidays:
New Year’s Day Labor Day
Martin Luther King Day Yom Kippur (weekday only)
President’s Day Presidential Election Day
Good Friday Thanksgiving Day
Memoria! Day Friday after Thanksgiving
Independence Day Christmas Day

Agency holidays that fall on a Saturday will be observed on the Friday before.
Agency holidays that fall on a Sunday will be observed on the following Monday.

Presidential Election Day, Good Friday and Yom Kippur are floating holidays.
 

. Accrued but unused holiday leave may not be converted to pay upon separation

 

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- An annual holiday schedule will be made available to all Employees at the

beginning of each calendar year.

- An Employee must be either at work or on paid leave on the workdays before and

after a holiday to be paid for that holiday. An Employee who calls in sick before
or immediately following an Agency observed holiday on which the Employee is
scheduled to be off may be required to submit a doctor’s note in order to receive
holiday pay.

- Full-time Employees will accrue one (1) day of holiday leave for an Agency

observed holiday that falls on a regularly scheduled day off. Full-time Employees
required to work on a holiday will be paid for the day worked and accrue one (1)
day of holiday leave.

. Part-time Employees may use or accrue holiday leave only for those Agency

observed holidays that fall on a day on which they are regularly scheduled to
work, Part-time Employees who work on a holiday earn holiday leave equivalent
to the amount of time they work on the holiday to a maximum of eight (8) hours
at the work site.

. Residential Employees, including those who work on-call, shall be compensated

at a rate equal to time and one half of their regular rate of pay for work performed
on the following holidays: ,

New Year’s Day (6 PM New Year’s Eve - 6 PM New Year’s Day)

Independence Day (July 4”)

Thanksgiving Day

Christmas Day (December 25")

The Employer shall continue its policy of offering Employees the option to cash
in holiday time accrued on these holidays,

. Accrued holiday leave must be used by the end of the payroll period ending

immediately before June 30" in the year in which it was earned, except as agreed

to in writing by the Executive Director or designee upon written request from the :
Employee. Such requests from Employees who, prior to March 30", have \
submitted and been denied 2 request to use holiday leave shall not be arbitrarily or

capriciously denied,

from the Employer.

Articie 12
Request to Use Accrued Holiday Leave or Vacation

. Employees wishing to use accrued holiday or vacation time will submit a written

leave request that includes the date of submission to their supervisor sufficiently
ahead of time to plan for adequate staffing and program coverage. This form shall!
be approved or denied by the Employer and returned to the Employee within two
(2) weeks of submission.
 

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. Wher scheduling holiday or vacation time, the supervisor will consider Employee

preferences and agency needs, Ifthe Employer is unable to accommodate the
preferred vacation requests of all applicants, seniority shall govern among those
applicants in the same job title applying simultaneously for the same dates.
However if the senior applicant in the job title previously received his/her choice
and other eligible applicants did not, the request of the senior eligible applicant in
that job title who did not previously receive his/her choice shall have first
preference for approval, :

Article 13
Personal Days '

. Full-time Employees who have completed fifty-two weeks of continuous full-time

employment shall accrue two (2) personal days per year on their anniversary date
of hire. .

. Personal days must be used by full-time Employees prior to their anniversary

date. They may not be carried into the next year or converted to pay upon
separation from the Employer. ,

. Hourly and part-time Employees do not accrue personal leave.
. Employees shall request personal days of the Employer with as much advance

notice as possible, but not more than three (3) months in advance, by completing
an accrued leave request form that includes the date the request is submitted. The
Employer shall respond in writing within two weeks of the date of the request.

. In the event that two or more Employees request the same personal day(s),

approval shall be granted in order of the date the requests are submitted, or by
seniority in the event that requests are submitted on the same date.

_ All Employer approvels or denials shall be based upon consumer and operational -

needs and be at the sole discretion of the Employer.

Article 14
Sick Leave

. Full-time Employees shall earn ten (10) paid sick days per year.
2. Part-time Employees shaii eam paid sick days on a pro-raled basis.

. Employees accrue paid sick leave from the beginning of their employment and

become eligible to use such leave following thirteen (13) weeks of continuous
employment.

. Employees may carry over accrued sick leave into the next fiscal year

(commencing July 1*), Thexe is no limit on the amount of paid sick leave an
Employee may accme,
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An Employee who is unable to report to work due to their own illness or iliness of
a child and who requests to use paid sick leave will contact his/her supervisor or
their designee. Notification must be made one (1) hour in advance of the work
day for Day Program Employees and two (2) hours in advance of the work day
for evening, night, and weekend Employees, except in cases of proven inability to
furnish such notice, and Employees shall continue to give such notification on a
daily basis unless another arrangement has been made.

An Employee with no documented record of excessive sick time usage will not
routinely be required to provide a doctor’s note following less than three
consecutive days of absence,

The value of accrued sick leave is not payable to an Employee upon separation
from employment.

Article 15
Leaves of Absence

Bereavement Leave

An Employee who completes twenty-six (26) weeks of continuous full-time
employment is entitled to paid leave in the event of the death of a member of the
Employee’s family, as follows:

a. amaximum of three (3) work days for the death of an immediate
family member, defined as a parent, grandparent, spouse, sibling, or
child.

b. one (1) work day for the death of an aunt, uncle, parent-in-law,
daughter-in-law, son-in-law.

Bereavement leave will be taken as close as possible to the time of death of the
Employee’s family member, however in no event more than one (1) month from
the date of death, ,

An Employee who requires additional time-off for a death in the Empioyee’s
family may request to use accrued vacation, holiday, or leave without pay days,
subject to written approval from the Employer, Such requests shall not be
unreasonably denied.

The Employer may request that the Employee provide documentation

to verify the appropriate use of bereavement leave.

Part-time Employees are entitled to bereavement leave on a prorated basis.
Hourly Employees are not entitled to bereavement leave.

B. Jury Duty

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An Employee summoned for jury duty is expected to present a copy of the jury
duty notice promptly to the Employer and to return to work whenever excused
from jury duty and when it is concluded.

Full-time and part-time Employees will be paid by the Employer at their regular
rate of pay for the duration of their jury service. Hourly or per diem Employees
 

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who work regular shifts will be paid by the Employer for the first three (3) days
of jury service, provided these are regularly scheduled work days for the
Employee.

3. The Employer reserves the right to request that an Employee be excused from

Jury duty based upon agency needs.
4. The Employer may request and the Employee must submit documentation
substantiating jury duty attendance.

C. Military Leave
1. Leaves of absence for performance of duty with the US Armed Forces, with a

reserve component of the National Guard thereof shall be granted in accordance
with applicable law,

2. . Employees who are eligible for vacation, personal, or holiday leave may use such
leave while on military leave, Exhaustion of all leave credits is not required for

thilitary leave.

D. Short-Term Disability Leave

1. The Employer and Employee will comply with the provisions of the NY State
Disability Benefits Law.

2. Employees who have accrued leave may use available accrued leave during a
period of short-term disability.

3. Employees receiving short-term disability benefits are also considered on FMLA
leave simultaneously up to the first twelve (12) weeks of the FMLA year they are

_ absent due to disability.

£. Family and Medical Leave Act (FMLA)
The Employer and Employee will comply with the provisions of the Family and

Medical Leave Act, as amended.

F. Workers Compensation
The Employer and Employee will comply with the provisions of the New York State

Workers’ Compensation Law.

° Leave Without Pay
An Employee who completes fifty-two (52) weeks of continuous employment and
has exhausted all! paid leave may request a Leave Without Pay to a maximum of
twenty-six (26) weeks for sickness or disability. The Employee will request such
leave with as much advance notice as possible, The Employer shall respond in
writing to the Employee, or verbally if there is not sufficient time from the date of
the request, prior to the requested start date of the leave.

a, In order to be eligible for such leave, the Employee will present medical
verification that he/she is unable to work.

b. An Employee who is on Leave Without Pay shail not receive
compensation from the Employer, but may receive short-term disability or
workers’ compensation payments, where applicable, if such payments
have not been exhausted during the Employee’s paid leave.

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¢. During an approved Leave Without Pay, the Employer shall maintain an ‘
Employee’s existing benefits, including life, health, and disability
coverage for a maximum of twelve (12) weeks. Employees who are unable
to retum to work after twelve (12) weeks will be notified in writing of the
options and costs of continuing their existing benefits under COBRA.
d. The Employer reserves the right to request periodic medical verification of
an Employee’s disability,
. An Employee on FMLA leave for reasons other than his/her own disability may
also be granted Leave Without Pay for the remaining fourteen (14) of the twenty-
six (26)weeks if his/her need for such leave is substantiated by credible
documentation,
. An Employee does not accrue vacation, personal, holiday or sick days while on
Leave Without Pay.
. An Employee may request Leave Without Pay for compelling reasons other than
his/her own disability or the disability of a family member. The Employee will
request such leave with as much advance notice as possible.

a. The Employer shall respond in writing to the Employee, or verbally if
there is not sufficient time from the date of the request, prior to the
requested start date of the leave. In evaluating whether to grant sucha
request, the Employer will consider the compelling nature of the request
and agency needs. Such requests shall not be unreasonably denied.

b. IfLeave Without Pay is granted for reason other than disability, it is
understood that the same policies apply regarding the duration of the
leave, documentation related to the reason for the leave, and Employee
rights upon return from the leave.

. Employees who are unable to work and denied leave without pay will be
informed in writing by the Employer of their placement on non-active status for a
period of ninety (90) days. Non-active Employees shall be entitled to continue
medical coverage as allowed by COBRA, as well as Worker’s Compensation and
disability benefits in accordance with the determination of the carrier and the law.
Employees who notify the Employer during this ninety (90) day period of their
ability to return to work and perform the full duties of the job will be given
reasonable consideration for reinstatement to their position (if still available) or to
another position within the agency. Employees who do not contact the Employer
within ninety (90) days of being placed on non-active status or are unable to
return to full duties will be terminated.

. An Employee pianning to return from Leave Without Pay shal) notify his/her
supervisor at least two weeks before the scheduled date of return and submit
medical clearance stating that he/she can return to work and perform the full,
essential duties of his/her job. The Employer will make reasonable efforts to
reinstate an Employee who returns from Leave Without Pay to a similar position
within the Agency.
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Article 16
Voluntary Benefits -

The Employer will continue its current policy on the following voluntary benefit
programs-—Transitcheck, 403(b), Life Insurance (term or universal), Flexible
Spending accounts, Municipal Credit Union, and Short term Disability.

Article 17
Tuition Assistance

1, UCP will continue its policy of tuition assistance to bargaining unit Employees on
the same terms as other UCP employees.

2, Copies of the Employer’s policy regarding participation in this program shall be
provided to Employees upon request.

Article 18
Employee Referral Program

1. Employees shall be eligible to participate in UCP’s Employee Referral Program
to the same extent as non-bargaining unit employees.

2, Copies of the Employer’s policy regarding participation in this program shall be
provided to Employees upon request.

Article 19
Administration of Medication

1, UCP and the Employees shall comply with all applicable laws and regulations
regarding the administration of medication by Employees to consumers.

2, The Employer will make reasonable efforts to provide Employees with the
opportunity to take and complete AMAP training prior to the end of the
Employee’s probationary period.

3. The grandparenting policy with regard to current Employees not required to
administer medication to consumers will remain in effect.
 

 

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Article 20
Driving of Agency Vans

1. UCP and the Employees shall comply with all applicable laws and regulations
tegarding the driving of agency vans.

2. Employees will not be required to drive an agency van until they have held a valid
driver’s license for six months and have completed the agency’s training program!

3. Direct care staff required to drive agency vans will be given priority to take the
agency’s defensive driving course.

4, The following Employees shall continue to be grandfathered from driving:
* Employees hired before June 18, 2003 who have not driven an agency van
while employed at the agency.

5. Upon request to the Employer, Employees issued a summons for moving or non-
moving violations while using an agency vehicle will be provided with the
opportunity and documentation to dispute the summons at the Traffic or Parking
Violations Bureau.

Article 21
Fingerprinting and Employee 1D Cards
Management will continue its policy of covering the costs of fingerprinting and the

initially issued UCP employee identification card.

Article 22
Employee Expenses and Reimbursement

Employees will be reimbursed within a reasonable time period following submission of
receipts or other acceptable documentation for reimbursable expenses.
Article 23
Training of Employees

The Employer shall comply with OMRDD policies and regulations regarding training of
employees.

 

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The Employer, in compliance with the law, will subject to negotiations, continue all past
practices involving wages, hours and terms and conditions of employment.

A. Regular Work Day and Work Week
1.

B. Timekeeping
1.

2.

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Article 24
Past Practices

Article 25
Hours of Work

The hours per week regularly worked by a full time or part-time Employee’
shall not be reduced during the term of the Agreement, except for lack of
work. If the hours of Employees in a particular title must be reduced because
of lack of work, the least senior Employees in the title at the bargaining unit
site shall have their hours reduced or eliminated before more senior
Employees, provided the remaining Employees are qualified to do the work
required,

Employees who regularly work at least four (4) hours a day shall have a meal
period of not less than thirty minutes per day.

For all Employees entitled to a meal period longer than thirty (30) minutes on
the date of ratification of this Agreement, the Employer shall continue its
current policy regarding meal period entitlements.

The Employer shall inform Employees in writing at the time they are hired of:
a. the daily starting and ending time of their shift

b, the length of their meal period

If it becomes necessary to change an Employee’s work schedule/shift at any
site, the Employer shall seek qualified volunteer(s) in the affected title at that
site, If there are no, or an insufficient number of qualified volunteer(s), the
Employer shall change the work schedule/shift of the least senior qualified
Employee(s) in the affected title at that site. An Employee whose
schedule/shift is involuntarily changed shall be informed of the reason for the
change, provided advance notice before implementation and preference to
revert to his/her previous work schedule/shift if an opportunity becomes
available to do so within one year of the involuntary change of schedule.

The Employer will continue its current policy regarding procedures for
completion and review of time and attendance sheets,

Effective no later than August 29, 2006, the Employer will, after an
Employee’s completion and submission of time and attendance sheets, begin
providing On-call Employees with a record of their days and hours worked
during each pay period.

Salaried staff who move to on-call status shall be paid for their existing
balance of accrued vacation time, to a maximum of one and one half (1 4)
times their annual vacation accruals,

 

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C. Overtime

1, Employees shall be paid at their regular hourly pay rate for authorized time
worked in excess of their regularly assigned hours of work, up to forty (40)
hours per week,

2. Employees shall be paid additionally at one and one-half {1 4) times the
Employee's regular hourly pay rate for authorized time worked in excess of
forty (40) hours in a work week.

3. Ifovertime is necessary, the Employer shall first seek qualified volunteers in
the job title(s) at the bargaining unit work site where the need arises. If an
insufficient number of qualified Employees volunteer, overtime shall be
assigned to qualified, on-duty Employees in the job title(s) at the bargaining
unit work site where the need arises, in reverse order of seniority.

4, Notice of overtime shall be given to Employees as soon as is reasonable for
the need ta have become known to the Employer.

D, Training and Staff Meetings
1. Employees shall be compensated for all time Spent attending training or staff
meetings beyond their regular hours of work.
2. With the exception of AMAP training, The Employer will offer alternative
arrangements for Employees who, due to compelling personal circumstances,
are unable to attend training or staff meetings beyond their regular hours of
work. Employees must attend the next training session for which they are
scheduled. :
3. Employees who complete OMRDD required training for which
certification is issued shall receive a copy of their certification upon

request.

Article 26
Overnight Trips

Upon being asked to accompany consumers on overnight trips, the Employer shall
provide Employees with a fact sheet on such trips as agreed between the parties.

Article 27
Vacancies, Transfers, Promotions, Layoffs and Recalls

A. Posting Vacancies
The Employer shall post vacancies showing the work hours and locations of

bargaining unit positions for at least five days. The posting shall be dated. Applicants
shall be transferred or promoted to such bargaining unit vacancies as set forth below.

 
 

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- performance into consideration. As used herein, a “lateral transfer” is a transfer to

. Layoffs and Recalls

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Voluntary Transfers and Promotions
When two or more applicants apply in writing for a lateral transfer to a bargaining
unit vacancy or promotion to a bargaining unit vacancy, an applicant shall be
selected by UCP taking competency, agency needs, consumer needs and job

a comparable position at a comparable pay level. A promotion is a transfer toa | i
higher paid position.
Part-time residential unit Employees shall have preference over on-call
Employees for additional hours and for full-time positions based on their
seniority, if they meet the posted qualifications. Residential Employees who work
on-call shall have preference for regular part-time or full-time residential
positions over new hires (but not over part-timers), if they meet the posted
qualifications. The Employer may, on infrequent occasions, not transfer or
promote part-timers or on-callers due to criteria listed in B1. The Employer shall
not act arbitrarily or capriciously in this regard.

The Employer sball notify the Union of an impending layoff of bargaining unit |
members, and it shall meet promptly, if requested by the Union, to try to resolve
any issues, including possible altematives to layoffs, before layoffs are
implemented.

In the event of a reduction in force in the bargaining unit, the least senior
Employee in the relevant bargaining unit job title shall be laid off provided the
remaining Employees are qualified to do the work required. The Employer shall
give affected Employees at least thirty days’ written notice of layoff. Part-time
Employees are laid off and recalled separately from full-time Employees.

Laid off Employees shall be placed on a list for recall to the same or a comparable
position with the Agency when one becomes available. Probationary Employees
who have been laid off have no recall privileges.

The Employer shall offer vacant bargaining unit positions that subsequently
become available to qualified Employees on recall] lists in seniority order before
posting them and filling them.

Employees recalled to work are expected to return within fourteen (14) calendar
days after recall sent certified mail by Employer to the Employee at his/her
address of record on file with the Employer except where verifiable serious illness
or other provable reason acceptable to the Employer makes it impossible for the!
Employee to return on time, The Employee shall notify the Employer of his/her
acceptance or rejection of the recall and the reason for any inability to return on
time within three (3) days after recall,
An Employee who is recalled from layoff to a non-bargaining unit position but
who requests to be retumed to the bargaining unit shall be transferred back into a
bargaining unit vacancy in accordance with his/her seniority if an appropriate
bargaining unit vacancy occurs for which the Employee is competent and
qualified. .

The recall rights of Eroployees are effective until one year following their date of
layoff.

 
‘EL Transfers Out of the Unit

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D. Transfers Within the Unit

1. The Employer may transfer Employees from their work site to another work site -
for reasons of agency or consumer needs. Said transfers shall be neither arbitrary
nor capricious,

2. Before involuntarily transferring any Employee from their work site to another
work site, the Employer shall.seek qualified volunteer(s) in the title. If there are
no, or an insufficient number of qualified volunteer(s), the Employer shall transfer
the least senior qualified Employee(s) in the title from their work site to another.
An Employee who is to be involuntarily transferred within the unit shall be
informed of the reason for the transfer and provided with advance notice.

3. Upon their request, Employees shail be transferred back to their work site as soon
as practical.

4, The Employer may transfer an Employee within the Unit for disciplinary reasons,
without adhering to D2 or D3. Such transfers shall be made in consultation with
the Union.

5. The parties have agreed to this provision with the expectation that it will be used

infrequently.

1. The Employer may transfer Employees out of the bargaining unit for reasons of
agency or consumer needs, Said transfers shall be neither arbitrary nor capricious:

2. Before involuntarily transferring any Employee out of the bargaining unit, the
Employer shall seek qualified volunteer(s) in the title. If there are no, or an
insufficient number of, qualified volunteer(s), the Employer shall transfer the least
senior qualified Employee(s) in the title. An Employee who is to be involuntarily
transferred out of the unit shall be informed of the reason for the transfer and
provided advance notice.

3. Upon their request, Employees shall be transferred back into the bargaining unit
as soonas practical. Employees transferred out of the bargaining unit shall suffer
no reduction in fringe benefits.

F. Disputes

Disputes arising under this Article are subject to grievance and arbitration, but an
arbitrator may not substitute his/her judgment of competency, consumer needs,
qualified agency needs and job performance for that of UCP’s determination unless
UCP’s determination is arbitrary or capricious.

Article 28
Due Process

A. Disciplinary Interviews

The Employer, the Union and Employees shal! abide by the Weingarten decision, 28
amended by Jaw, when an Employee requests Union representation at a disciplinary
interview with Management.

 

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B. Discipline and Discharge

1. The Employer shall have the Tight to discharge, suspend, or discipline any
Employee for just cause, —

2. Employees who are found, pursuant to an arbitration proceeding, to have
engaged in a heinous or detestable act of abuse against a consumer, will be
terminated. Employees who have been the subject of false or inconclusive
accusations of such an act will be made whole,

‘
C. Employee Investigations
The parties have agreed to a “Fact Sheet on the Investigation Process”, a copy of
which is contained in Appendix B and deemed a part of the collective bargaining
Agreement,

Article 29
Grievance and Arbitration Procedure

A. Definition
A grievance is a claim that a provision of this Agreement has been violated. The -
Union or the Employer may initiate a grievance.

B. Informal Resolution

It is the intent of the parties to resolve individual grievances promptly, without
recourse to the formal grievance procedure. Therefore, an individual grievant and the
Chapter Leader (or his/her designated representative) shall meet with the immediate
supervisor and attempt to resolve the grievance informally. If there is no resolution,
the formal grievance procedure shall apply.

It is mutually agreed that nothing herein will prevent the Employee from voluntarily
discussing problems with his/her supervisor or other representatives of Management
with or without his/her union representative prior to initiating a formal grievance or

prior to exercising his/her Weingarten Rights under Article 28 (Due Process) of this

Agreement. However, neither the Employer nor the Union shall intimidate, coerce, or;

cause an Employee or Manager to suffer any reprisals, either directly or indirectly,
that may adversely affect his or her hours, wages, or working conditions as the result |
of the exercise of his or her rights under this Article.

C. Formal Grievance Procedures

1. Grievances Initiated by the Union

Upon request of either party, the Union and the Employer will exchange lists of
individuals who may act in the capacity of “designated representative” (for the
Union) and “designee” (for the Employer) at Step One and Step Two, and update as
appropriate.

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. Group Grievances

. Grievances Initiated by the Employer .

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Step One
A formal grievance shall be submitted by the Union to the Employer’s Designee

(“Designee’’) within ten days of the date the facts giving rise to the grievance
were known to the grievant or reasonably should have been known. The grievance
Shall be in writing and shall set forth the claim and identify the contractual
provision(s) alleged to have been violated and the bargaining unit member(s)
affected. It shal} also set forth the remedy sought.

The Designee or designated alternate shall meet with the grievant and the Cliapter
Leader (or his/her designated representative) within ten days of the submission of
a formal grievance. The written decision of the Designee, will be given to the
Chapter Leader (or his/her designated representative) and the grievant within ten
days of the meeting at this Step.

Step Two

If the grievance is not resolved at Step One, the Union may appeal in writing to
the Executive Director of UCP (or designee) within ten days after receiving the
Step One answer. The Executive Director or designee shall meet with the grievant
and the Chapter Leader (or his/her designated representative) within ten days after
receipt of the appeal and attempt to resolve the grievance, The answer of the
Executive Director or designee shall be given in writing to the Union within ten
days after the meeting and shall set forth the reason if the grievance is denied.

 

Upon written agreement of the Union and the Employer, the Union shall have the!
right to initiate a Step Two grievance which affects aisubstantial number or class
of Employees and which the Employer's representative designated in Step One
lacks authority to settle, Such grievance shall be filed within ten days after the
facts giving rise to the grievance were known or reasonably should have been
known.

UCP may file a grievance against the Union by submitting to the Union President
(or designee) a written statement of the grievance within ten days of the date the
facts giving rise to the grievance were known to UCP or reasonably should have
been known. A meeting between UCP and UFT to discuss the grievance will be
convened within ten days thereafter. In the event that UCP and UFT are unable to
resolve the grievance, the grievance may be submitted to arbitration by the
Employer in the same way the Union submits its grievances to arbitration
hereunder.

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D. Arbitration

Ifthe grievance is not resolved at Step Two, the Union, within fifteen days after
receiving the Step Two answer or after the failure to answer within the time limit,
may submit a notice of arbitration to the Employer, with a copy to the Amezican
Arbitration Association (AAA). The notice shal! include a brief statement setting

 
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forth the issue to be decided by the arbitrator, the specific provision(s) of the
Agreement involved and the remedy sought,

The Union shall request the AAA to submit simultaneously to each party an identical
list of names chosen from the Panel of Labor Arbitrators for selection of an arbitrator,
in accordance with the Labor Arbitration Rules of the AAA, to hear and decide the
case. ,

The arbitration shall be handled in accordance with the then existing Labor
Arbitration Rules of the AAA related to the hearings and fees and expenses. The
arbitrator shall have no authority to add to, subtract from, alter, amend or in any way
modify the terms and provisions of the Agreement. The fees and expenses of the
arbitration shall be bome equally by the Employer and the Union. Each party shall
bear the expenses of preparing and presenting its case at arbitration. The arbitrator’s
written decision and opinion shall be issued not later than thirty days from the close
of the hearings. The decision shall be final and binding on the Union, the Employer
and the Employees.

E. Time Limits

1. . The time limits specified in this Article shall be deemed to be exclusive
of Saturdays, Sundays and holidays.

2. Failure on the part of the Union to appeal a grievance to the next step
within the specified time limit shall be deemed to be acceptance of the
decision rendered at that step. Failure on the part of the Employer to
answer a grievance at any step within the specified time limit shall not
be deemed acquiescence thereto and shall entitle the Union to proceed
to the next step or to arbitration, as applicable.

3. A grievance concerning discharge or suspension may be initiated by the
Union at Step Two of the formal grievance procedure provided that it is
initiated within the time period set forth in Step One.

4, In any specific grievance the time limit at any step may be extended by
written agreement between the Employer representative at that step and
the Chapter Leader (or his/her designated representative).

5. Failure on the part of the Union or the Employer to submit a grievance
within the time limits shall result in the forfeiture of the right to file the
grievance with prejudice.

Articie 30
Personnel Files

1, There shall be only one official personnel file for each Employee located within
the UCP Human Resources Department, Each Employee shall have free access
(which shall not be abused) to his/her file for the purpose of examination and
making copies of materials within the file.

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- No materials except those to which the Employee has had a chance to read, sign

- Material in the personnel file that is shown to be false or inaccurate as a result of a

The parties will comply with the agency’s confidentiality policy.

. The Employer, the Union and the Employees shall comply with applicable

. The Employer will respond in a timely fashion to health and safety issues.

. Any Employee who terminates his/her employment by resignation shall give the
. Exceptions to the two weeks written notice requirement for reasons of hardship

. The effective date of notice is the date the resignation letter is received in the

_ Upon separation from employment, the Employer shall pay the following to

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- Materials placed in the personnel file should only be job-related and not related to

personal matters—such as family situations, etc.
and/or respond to in writing shall be placed in the file,

grievance arising under Article 28B (Discipline and Discharge) shall be corrected
or expunged as appropriate, in accordance with the express terms of the decision

in the grievance or arbitration.
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Article 31
Confidentiality

Article 32
Health and Safety

Federal, State, and City health and safety statutes, rules, and regulations.
Article 33
Separation From Employment
Employer two (2) weeks advance written notice.

shall not be unreasonably denied.

 

Director’s Office. Upon receipt of such notice, the Director or his/her designee |
will provide the Employee with a written acknowledgment of the effective date of
resignation.

Employees who provide the required notice and according to applicable law—
accrued. but unused vacaticn time to a maximum of one and one-half (I 4 } times
the annual accrual for full time Employees; or for part-time Employees, the pro-

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Should any part of this Agreement or any provision contained herein be rendered or
declared invalid by reason of any existing or subsequently enacted legislation or by a
court of competent jurisdiction, such invalidation of such part or provision of this
Agreement shall not invalidate the remaining portions of this Agreement and they shall
remain in full force and effect. Neither shall any provision of this agreement negate any
applicable stature or regulation.

This Agreement shall constitute the sole and entire agreement between the parties with
respect to rates of pay, wages, hours and all other conditions of employment. It may not
be amended, modified, waived, extended or otherwise revised except by agreement in
writing duly executed by the parties.

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request by the other party shall:

 

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tated equivalent based upon their part-time schedule and the pro-rated vacation
limits for full-time Employees.

If the above notice and dates are not complied with, except in cases of hardship as
above, an Employee shail forfeit accrued but unused vacation time. Accrued
unused sick, personal days, and holidays are not payable at termination or
resignation. ;

During the resignation notice period Employees will not be entitled to use sick,
vacation, floating holidays, or personal time.

Article 34
Severability

Article 35
No Strike- No Lockout

During the term of this Agreement, the Union, on behalf of its officers, agents and
members, agrees that there shall be no strikes (economic, unfair labor practice,
sympathy or otherwise), slowdowns, walkouts, sit-downs, picketing or boycotts
which interfere in any manner with the Employer’s operations. Such prohibition
does not prevent off duty Employees or Union staff from engaging in lawful
organizing activities at non-organized employer facilities.

During the term of this Agreement the Employer, on behalf of its officers,
administrators, supervisors and agents, agrees that there shall be no lockouts of
Employees covered by this Agreement.

The term “strike” shall include a refusal to report for work because of a primary
or secondary picket line at the Employer’s premises so long as the Employer
provides safe access to its premises.

If during the term of this Agreement a strike or a lock-out occurs, the Union (if
there is a strike) or Employer (if there is a lock-out) within twenty-four hours of a

 

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grievance and arbitration provisions of this Agreement.

applicable law.

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a. Publicly disavow such action

b. Advise the other party in writing that such action has not been called or
sanctioned by it.

c. Notify the participants of its disapproval of such action, instruct them to
cease the action and return to work immediately.

Article 36
Management’s Rights

Except as otherwise specifically provided, limited or modified by this Agreementi _

the Employer retains the exclusive right to manage the business, to direct, control
and schedule its operation and workforce, and to make any and all decisions
affecting the business whether or not specifically mentioned herein and whether
or not heretofore exercised. Examples of such prerogatives shall include, but not |
be limited to, the sole and exclusive rights to: hire, promote, layoff, assign,
transfer, suspend, discharge and discipline Employees; select and determine the
number of Employees, including the number assigned to any particular work;
increase or decrease that number; direct and schedule the workforce; determine
the location and type of operation; determine and schedule when overtime shall be
worked; install or remove equipment and determine the methods, procedures,
materials and operations to be utilized provided that Employees shall be trained
by the Employer in the safe and effective use of any such equipment, methods,
procedures, materials and operations; transfer or relocate any or all of the
operations by sale or otherwise, in whole or in part; determine the work duties of
Employees; promulgate, post and enforce rules and regulations governing the
conduct and acts of Employees during working hours; discontinue or reorganize
or combine any operation with any consequent reduction or other change in the
workforce; establish, change, combine or abolish job classifications, determine
work performance levels and standards of performance of the Employees and in
all respects carry out the ordinary and customary functions of management.

The Employer’s failure to exercise any of the functions stated herein shall not
constitute a waiver thereof.

The Employer has the right to schedule its management and supervisory
personnel, Supervisors will not regularly perform bargaining unit work, but may
do so as necessary. The selection of supervisory personnel shall be the sole
responsibility of the Employer, and such selection shall not be subject to the

The foregoing statement of the rights of Management and of Company functions
are not all-inclusive, but indicate the type of matters or rights which belong to and
are inherent in management and shall not be construed in any way to exclude
other ordinary and customary Employer functions not specifically enumerated
above, ;
It is understood that upon demand by the Union, the Employer shall negotiate
regarding its decisions and/or the impact of the decisions as mandated by

 

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Article 37
Cooperation Between the Parties

UCP and the UFT will cooperatively attempt to maximize UCP revenues and funding and
enhance employee salaries and benefits by approaching City, State, and Federal
governments. Utilization of said enhanced revenues and funding will be discussed by the
parties in advance.

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For the Union: i 7
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For the Employer:-.

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Exhibit A
Payroll Deduction Authorization

Pursuant to applicable law, I assign to the United Federation of Teachers (UFT)
from my compensation as any employee of United Cerebral Palsy of NYC (hereinafter
called “my employer") one percent (.01) of my gross pay or such different amount as
UFT fixes as its regular dues, and direct my employer to withhold this sum from the
compensation due me each pay period and remit it to the UFT.

I submit this assignment and authorization with the understanding that it will be
effective and irrevocable for a period of one year from this date or up to the termination
date of the current Collective Bargaining Agréement between my employer and the UFT,
whichever occurs sooner.

The authorization and assignment shal] continue in full force and effect for yearly
periods beyond the irrevocable period set forth above and each subsequent yearly period
shall be similarly irrevocable unless revoked by me within the 30 day period preceding
expiration of such irrevocable period. Such revocation shall be effected by simultaneous
written notice by registered or certified mail to my employer and the UFT which must be
delivered within such 30 day period. :

The assignment and authorization are effective at once..

Date

 

Employee Signature

 
 

The following steps are taken when an allegation of client abuse is made against an
agency Employee.

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APPENDIX B

Fact Sheet on the Investigation Process

An Incident Report Form is completed and submitted to the Program Director.

An Employee accused of client abuse will immediately be placed on
administrative leave. This means suspended without pay. During the period of
administrative leave, the Employee is not permitted on any agency property
unless he/she receives prior approval from his/her Program Director.

The agency will assign a member of Management to investigate the allegation(s)
of abuse. The investigator should not work at the site or be responsible for
supervising the site of the Employee under investigation.

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The investigator will explain to each Employee witness the reason behind the
investigation. He/she will also inform each Employee witness that regulations and
agency policy require them to cooperate in an investigation. Employees who
refuse to cooperate in an agency investigation or sign a statement will be
informed that they may face disciplinary action.

Interviews will be conducted in a place that provides privacy.
The investigator will interview potential witnesses, including staff and clients.

He/she will also interview the affected client and staff member who was placed
on administrative leave.

. The investigator will take statements from witnesses, the affected client and the

Employee being accused. Individuals who provide statements will be asked to
tread their statements or, if necessary, will have their statements read back to them, :
suggest any changes, and then sign them. These individuals are not entitled to and

will not receive a copy of their statements.

Employees entitled to union representation, pursuant to their Weingarten Rights,
tmiay be accompanied by the representative during questioning,

The investigation is usually concluded within five working days of the date that
the alleged abuse was reporied to the Program Director.
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10, Based on the results of this investigation, one of the following actions will be
: taken:

i ® Ifthe charges are substantiated, the Employee will be terminated retroactive to

oo his/her date of suspension and not entitled to any back pay.

oo © Ifthe charges are false or inconclusive, the Employee will be reinstated with

| full back pay.

e In some cases where the results of an investigation are inconclusive, the
affected Employee may be transferred to another program. This Employee ;
will be reinstated with full back pay. |
